                IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

MATTHEW FREETAGE,                                 )
                                                  )
                     Plaintiff,                   )
                                                  )
       v.                                         )             1:22CV342
                                                  )
DUKE UNIVERSITY HEALTH SYSTEM,                    )
INC.,                                             )
                                                  )
                     Defendant.                   )


             ORDER APPROVING JOINT RULE 26(f) REPORT AND
                       LOCAL RULE 5.5 REPORT

       The Court has reviewed the Joint Rule 26(f) Report (Docket Entry 27) and Local Rule

5.5 Report (Docket Entry 28) submitted by the parties and approves both without

modification, which, inter alia, adopts the default procedures of Local Rule 5.4(c) regarding

filing documents under seal.


                                                     /s/ Joe L. Webster
                                                 United States Magistrate Judge



Date: September 6, 2022




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